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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:16-CR-3039

vs.
                                              MEMORANDUM AND ORDER
RAHMAN M. NABAVI AND ISABEL
M. MALLAR,

                  Defendants.

       This matter is before the Court on the defendants' objections (filing 58,
filing 60) to the Magistrate Judge's findings and recommendation (filing 56)
that the defendants' motions to suppress (filing 24, filing 25) be denied. The
Court has conducted a de novo review of the motion to dismiss, pursuant to
28 U.S.C. § 636(b)(1). On its de novo review, the Court agrees with the
Magistrate Judge's findings and recommendation, and will adopt them.

      IT IS ORDERED:

      1.    The Magistrate Judge's Findings, Recommendation, and
            Order (filing 56) are adopted.

      2.    The defendants' objections (filing 58, filing 60) are
            overruled.

      3.    The defendants' motions to suppress (filing 24, filing 25)
            are denied.

      4.    This matter is referred to the Magistrate Judge for trial
            scheduling.

      Dated this 31st day of March, 2017.

                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge
